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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

_______________________________________
                                       :
UNITED STATES OF AMERICA,              :
                                       :               Criminal No. 10-667-06 (FSH)
            v.                         :
                                       :                           ORDER
ERIK PRASCAK                           :
                                       :
                  Defendant.           :
_______________________________________:


       It appearing that this Court issued a bench warrant on June 13, 2011 for the above named

defendant for failure to comply with the U.S. Probation Office; and it further appearing that the U.S.

Probation Office has notified the Court that the defendant has now complied with their terms; and

for good cause shown;

       IT IS on this 13th day of June, 2011,

       ORDERED that the bench warrant issued on June 13, 2011 is hereby VACATED.




                                                          s/ Faith S. Hochberg
                                                       United States District Judge
